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     Attorneys for Plaintiff, Trivitis, Inc.
13
14                             UNITED STATES DISTRICT COURT

15                               FOR THE DISTRICT OF NEVADA
16
17                                 )
     TRIVITIS, INC.,               )             CASE NO.: 13-352
18                                 )
          Plaintiff,               )
19                                 )
                                   )
20        vs.                      )             COMPLAINT FOR PATENT
                                   )             INFRINGEMENT
21                                 )
     PRIMUS PHARMACEUTICALS, INC., )             JURY DEMAND
22                                 )
          Defendant.               )
23                                 )
                                   )
24
25
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27
28
                                      COMPLAINT FOR INFRINGEMENT




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 1         Plaintiff Trivitis, Inc. for its Complaint for Patent Infringement against
 2   Defendant Primus Pharmaceuticals Inc. (“Primus Pharmaceuticals”) alleges as
 3   follows:
 4
 5                                           PARTIES
 6         1. Trivitis is a Nevada corporation having its principal place of business at
 7              89780 Avenue 60, Thermal, California 92274.
 8         2. Upon information and belief, Primus Pharmaceuticals is an Arizona
 9              corporation having a principal place of business at 7373 N. Scottsdale
10              Road Suite B-200 Scottsdale, AZ 85253.
11         3. Upon information and belief, Primus Pharmaceuticals is in the business
12              developing and selling pharmaceutical products, including a Limbrel
13              product.
14                               JURISDICTION AND VENUE
15         4. This is an action for patent infringement arising under the laws of the
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                United States, Title 35, United States Code §271 et seq.
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           5. This court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331
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                and 1338(a).
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           6. Upon information and belief, this court has personal jurisdiction over
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                Primus Pharmaceuticals as it transacts business in the District of Nevada,
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                it has marketed or sold infringing products within this District, and has
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                caused Trivitis injury within this District.
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           7. Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b), 1391(c)
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                and 1400(b).
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                                     CAUSES OF ACTION
26
                                              Count I
27
                         Infringement of U.S. Patent Number 6,562,864
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                                 COMPLAINT FOR PATENT INFRINGEMENT

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 1         8. Trivitis realleges and incorporates by reference the allegations stated in
 2              paragraphs 1 through 7.
 3         9. Trivitis is the owner of all right title and interest in United States Patent
 4              Number 6,562,864 (the “’864 Patent”), entitled, Catechin Multimers as
 5              Therapeutic Drug Delivery Agents, duly and properly issued by the U.S.
 6              Patent and Trademark Office on May 13, 2003.
 7         10. The ‘864 Patent was originally issued to Drake Larson as the inventor and
 8              subsequently all right, title and interest of Larson in the ‘864 Patent was
 9              irrevocably assigned to Trivitis.
10         11. Primus Pharmaceuticals is directly infringing and/or inducing others to
11              infringe the ‘864 Patent by making, using, offering to sell or selling in the
12              United State, or importing into the United States, products that practice
13              inventions claimed in the ‘864 Patent, including, but not limited to, its
14              Limbrel product.
15                                DEMAND FOR JURY TRIAL
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           12. Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Trivitis
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                respectfully requests a jury trial on all issues properly triable by a jury.
18
                                      PRAYER FOR RELIEF
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           WHEREFORE, Trivitis prays for relief as follows:
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           A.      For a judgment declaring that Primus Pharmaceuticals infringed at
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                   least one claim of Trivitis’ ‘864 Patent;
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           B.      For a judgment awarding Trivitis compensatory damages as a result of
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                   Primus Pharmaceuticals’ infringement of the ‘864 Patent, together with
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                   interest and costs, and in no event less than a reasonable royalty;
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           C.      For a judgment declaring that Primus Pharmaceuticals infringement of
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                   Trivitis’ ‘864 Patent has been willful and deliberate;
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           D.      For a judgment awarding Trivitis damages three times the award of
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                                 COMPLAINT FOR PATENT INFRINGEMENT

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 1               compensatory and pre-judgment interest under 35 U.S.C. § 284 as a
 2               result of Primus Pharmaceuticals’ willful and deliberate infringement
 3               of the ‘864 Patent;
 4         E.    A finding that this case is exceptional under 35 U.S.C. § 285 and an
 5               award of attorney fees incurred by Trivitis in connection with this
 6               action; and
 7         F.    For such other and further relief as the Court deems proper and just.
 8
 9         DATED this 1st day of July 2013
10
11                                           ATIP Law
12                                           /s/ Ian F. Burns
13                                           _______________________________
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                               COMPLAINT FOR PATENT INFRINGEMENT

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